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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

LORETTA ALEXANDER                                                       PLAINTIFF

V.                         CASE NO. 4:20-CV-541-BD

PINE BLUFF SCHOOL DISTRICT                                            DEFENDANT


                                   JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is hereby DISMISSED, with prejudice.

      DATED this 28th day of May, 2021.


                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE
